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 7    FIRST UNION LENDING, LLC and
      TIMUR SHAMSUTDINOV
 8
 9
10
                            UNITED STATES DISTRICT COURT

11                        SOUTHERN DISTRICT OF CALIFORNIA
12
13    Anton Ewing, an individual,           )     CASE NO. 3:18-cv-01063-AJB-AGS
14                                          )
                          Plaintiff,        )     DEFENDANT FIRST UNION
15
              v.                            )     LENDING, LLC AND TIMUR
16                                          )     SHAMSUTDINOV’S BRIEF IN
17    8 Figure Dream Lifestyle, LLC, a      )     SUPPORT OF MOTION TO
      Wyoming limited liability company; )        DECLARE ANTON EWING A
18    Richard Waldman, an individual;       )     VEXATIOUS LITIGANT AND FOR A
19    R. Scott International Corp., Florida )     PREFILING ORDER PURSUANT TO
      corporation;                          )     28 USC SECTION 1651
20
                                            )
21    RFR Capital, LLC, a Delaware          )     Date: August 30, 2018
22    limited                               )     Time: 2:00 p.m.
      liability company;                    )     Judge: Hon. Anthony J. Battaglia
23    Robe1t Signore, an individual.,       )     Ctrm: 4A
24                                          )
      Fast Advance Funding, LLC, a          )
25
      Pennsylvania limited liability        )
26    company; Anthony Gibson, an           )
27
      individual;                           )
                                            )
28

      {00095033;1}                            i
                                                     BRIEF IN SUPPORT OF MOTION TO SEE PREFILING ORDER
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 1                                         )
 2    First Premier Funding, LLC, a        )
      Delaware limited liability company; )
 3    Anthony J. Gaglio, an individual;    )
 4                                         )
      First Union Lending, LLC, a Florida )
 5
      limited liability company;           )
 6    Timur Shamsutdinov, an individual )
 7                                         )
      FIG Capital, LLC, a Delaware limited )
 8    liability company; Michael Scarpaci, )
 9    an individual;                       )
                                           )
10
      Premium Merchant Funding One,        )
11    LLC, a New York limited liability    )
12    company; Elie Golshan, an            )
      individual;                          )
13                                         )
14                        Defendant        )
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      {00095033;1}                        ii
                                               BRIEF IN SUPPORT OF MOTION TO SEE PREFILING ORDER
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 1                         MEMORANDUM OF POINTS AND AUTHORITIES
 2    I.             INTRODUCTION
 3                   Plaintiff Anton Ewing’s (“Plaintiff” or “Ewing”) Complaint in this matter is
 4    just part of a continuing onslaught of unfocused and repetitive litigation asserted
 5    by Plaintiff this District or the San Diego Superior Court.
 6                   Those cases, just as Ewing’s Complaint in this case, assert claims under
 7    Racketeer Influenced and Corrupt Organizations Act,18 U.S.C. §1961 et seq.
 8    (“RICO”), Telephone Consumer Protection Act, 47 U.S.C. § 227 et seq. (“TCPA”)
 9    and California’s Invasion of Privacy Act, Cal. Penal Code 632 et seq. (“CIPA”).
10    Ewing has been declared a vexatious litigant in San Diego three times with respect
11    to these Complaints, and in recent years has turned to the federal courts.
12                   This Court previously dismissed Ewing’s RICO claims in a similar lawsuit.
13    Ewing v. Flora, No. 14CV2925 AJB (NLS), 2015 WL 12564225 (S.D. Cal. Mar.
14    25, 2015) [hereinafter Flora]. His RICO claims have been rejected by multiple
15    decisions yet he realleges those claims against First Union. This is nothing more
16    than harassment.
17                   Compounding his harassment of First Union, Ewing has now filed suit
18    against Dennis Arroyo of First Union, based on discussions they had to try to
19    resolve the current lawsuit against First Union. See Ewing v. Dennis Arroyo/
20    Dennis Cage and First Union, 3:18−cv−01212−AJB−BGS (S.D. Cal. filed June
21    11, 2018).
22                   Ewing’s harassing and repetitive litigation needs to be stopped. As he was
23    in the San Diego Superior Court, Ewing should be deemed a vexatious litigant
24    subject to a prefiling order.
25
26    II.            BACKGROUND
27                   Since 2015, Ewing has filed at least 16 actions in either this District or the
28    San Diego Superior Court, asserting violation of RICO, TCPA, and CIPA. In

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 1    three of these actions, Ewing was declared a vexatious litigant pursuant to
 2    California Code of Civil Procedure section 391.7: Ewing v. Parker 37-2016-
 3    00028312CUBTCTL(S.D. Sup. Ct.), Ewing v. Monster Solar Inc., 37-2016-
 4    0038027-CUBTCLT (S.D. Sup. Ct.); Ewing v. Taylor, 37-2017-
 5    00022988CUBTCLT(S.D. Sup. Ct.) See Ex. 1 to Request for Judicial Notice. A
 6    chart of the relevant cases are set forth below. The dockets and the Complaints in
 7    these cases are set forth in Exhs. 3-16 to Defendants’ RJN.
 8
           Ex.       Case Name/No.                Date Filed   Claims Include   Status
 9
           3         Ewing v. Flora               12/11/14     RICO, TCPA       Motion to dismiss
10                   3:14-cv-02925-AJB-                        and CIPA         granted as to
                     NLS (S.D. Cal.)                                            RICO claim;
11                                                                              settled and
                                                                                dismissed
12
           4         Ewing v. A1 Solar,           10/20/15     RICO, TCPA       Dismissed
13                   37-2015-00035326-CU-                      and CIPA
                     BT-CTL (S.D. Sup. Ct.)
14
15         5         Ewing v. A1 Solar            12/01/2015   TCPA             Stipulation to
                     Power, Inc.                                                remand to state
16                   3:15-CV-02695-LAB-                                         court
                     DHB
17                   (S.D. Cal.)
18         6         Ewing v. K2 Property         03/21/2016   RICO, TCPA       Motion to enforce
                     Development, LLC et al.                   and CIPA         settlement
19                   3:16-CV-00678-LAB-                                         agreement still
                     AGS(S.D. Cal.)                                             pending
20
           7         Ewing v. Lend Mark           04/21/2016   TCPA             Dismissed for
21                   Capital Group Inc. et al.                                  failure to
                     3:16-CV-00967-BAS-                                         prosecute
22                   NLS(S.D. Cal.)
23         8         Ewing v. Integrity           06/14/2016   RICO, TCPA       Accepted offer of
                     Capital Solutions, Inc. et                and CIPA         judgment
24                   al.
                     3:16-CV-01469-JLS-
25                   MDD
26                   (S.D. Cal.)

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 1         Ex.       Case Name/No.               Date Filed   Claims Include   Status
           9         Ewing v. SQM,               06/23/2016   TCPA             Motion to dismiss
 2
                     3:16-CV-01609-CAB-                                        for lack of subject
 3                   JLB                                                       matter
                     (S.D. Cal.)                                               jurisdiction
 4                                                                             granted
 5         10        Ewing v. Parker, 37-        8/16/16      RICO, TCPA       Declared
                     2016-                                    and CIPA         vexatious litigant
 6                   00028312CUBTCTL(S.                                        and subject to
                     D. Sup. Ct.)                                              prefiling order
 7
 8         11        Ewing et al. v. Jarvey et   08/18/2016   RICO, TCPA       Settled and
                     al.                                      and CIPA         dismissed
 9                   3:16-CV-02097-AJB-
                     NLS
10                   (S.D. Cal.)
11         12        Osgood et al v. Main        9/26/16      RICO, TCPA       Defense counsel
                     Streat Marketing, LLC                    and CIPA         withdrew and
12                   et al                                                     Ewing sought
                     3:16−cv−02415−GPC−                                        default
13
                     BGS
14                   S.D. Cal.)
           13        Ewing v. Monster Solar      10/27/2016   RICO, TCPA       Declared
15                   Inc., 37-2016-0038027-                   and CIPA         vexatious litigant
                     CUBTCLT (S.D. Sup.
16
                     Ct.)
17
           14        Ewing v. Charter            02/03/2017   TCPA             Compelled
18                   Communications                                            arbitration
19                   Holding Company, LLC
                     et al.
20                   3:17-CV-00222-BEN-
                     WVG (S.D. Cal.)
21         15        Ewing v. Taylor             6/23/17      TCPA             Declared
22                   37201700022988CUBT                                        vexatious litigant
                     CLT S.D. Sup. Ct.)                                        but posted bond
23
24
           16        Ewing v. Dennis Arroyo/ 6/11/18          RICO             Defendants have
25                   Dennis Cage and First                                     not yet answered
                     Union,
26                   3:18−cv−01212−AJB−B
                     GS (S.D. Cal.)
27
28

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 1    III.           ARGUMENT
 2                   A.    Authority
 3                   There are no federal statutes defining a vexatious litigant for federal court
 4    purposes, and California’s statutory definitions are of course not determinative in
 5    the federal courts. But the nature of the conduct supporting Ewing’s designation as
 6    a vexatious litigant under California law reflects Ewing’s abuse of the courts, the
 7    litigants, the judiciary, and the judicial processes.
 8                   The All Writs Act vests federal courts with the power to enjoin vexatious
 9    litigants. 28 U.S.C. §1651. “There is a strong precedent establishing the inherent
10    power of the federal courts to regulate the activities of abusive litigants by
11    imposing carefully tailored restrictions under the appropriate circumstances”. De
12    Long v. Hennessy, 912 F.2d 1144 (9 Cir 1990).
13                   Under Ninth Circuit authority, to issue a pre-filing order the court must: (1)
14    give plaintiff notice and an opportunity to oppose the order before it is entered; (2)
15    create an adequate record for review; (3) make substantive findings of the frivolous
16    and harassing nature of plaintiff’s litigation; and (4) narrowly tailor the pre-filing
17    order. Id., at 1147; see also Molski v. Evergreen Dynasty Corp., 500 F.3d 1047 (9
18    Cir. 2007).
19                   Although pre-filing orders should be rarely used, and only issued after a
20    careful review of the relevant circumstances, a “flagrant abuse of the judicial
21    process cannot be tolerated because it enables one person to preempt the use of
22    judicial time that properly could be used to consider the meritorious claims of other
23    litigants.” De Long, 912 F.2d at 1148.
24                   Ewing relitigates cases endlessly in any court that will accept his complaint
25    for filing. In particular, he has relitigated his RICO claims even after Ewing has
26    been informed by the courts, through the numerous orders and judgments, that
27    such claims are not viable. See Flora, Integrity, supra. Ewing is an attorney.
28    Thus Ewing is not ignorant in these matters. He is just misdirected and ill

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 1    intentioned. Unfortunately, his knowledge of the legal processes just makes Ewing
 2    more dangerous than a non-attorney vexatious litigant.
 3                   B.    This Court should issue a pre-filing order
 4                   1.    Ewing has notice and opportunity to be heard
 5                   These moving papers provide Ewing with notice and an opportunity to be
 6    heard before the entry of a pre-filing order.
 7                   2.    First Union has set forth an adequate record for review
 8                   In Molski, again citing De Long, at 1059, the Ninth Circuit stated “[a]n
 9    adequate record for review should include a listing of all of the cases and motions
10    that led the district court to conclude that a vexatious litigant order was needed.” .
11    This Court in Calhoun v. San Diego Cty., No. 12CV2596 AJB JMA, 2012 WL
12    5878666, at *3 (S.D. Cal. Nov. 21, 2012) held that the number of actions filed by
13    the plaintiff and repetitive nature of the claims, supported that the factor of
14    adequate record for review.
15                   Similarly, Ewing’s filings continue to raise the same issues again and
16    again—RICO, TCPA and CIPA. See Exhs. 3-16 to Defendants’ RJN. The
17    repetitive nature of these claims demonstrate that there is an adequate record for
18    review to issue a pre-filing order.
19                   3.    Ewing’s Claims are Frivolous and Harassing
20                   The third De Long factor requires the Court to make substantive findings
21    regarding the frivolous or harassing nature of the plaintiff's litigation. De Long,
22    912 F.2d at 1148. Molski went on to note that a complete list of cases filed by
23    Molski, along with the complaint in many of those cases, were provided to the trial
24    court, and that while the trial court in its order did not list every case filed by
25    Molski, it did outline and discuss many of them. Molski held that this was
26    adequate. In accordance with the language of De Long , First Union does not base
27    this motion just on the number of cases filed by Ewing. The content and the results
28    of those filings are of at least equal importance. Ewings’s continual filings,

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 1    continue to raise the same issues again and again—RICO, TCPA and CIPA. See
 2    Exhs. 3-16.
 3                   In Calhoun, this Court held that the plaintiff filed twenty-six cases in the
 4    Southern District of California to date. In all but two of these cases, the court sua
 5    sponte dismissed Plaintiff's case with prejudice. In this case, Ewing has filed
 6    thirteen cases. In none of those cases did he prevail. His RICO claims always
 7    resulted in dismissal. Moreover, he was deemed a vexatious litigant in three of
 8    those cases. See Ex. 1.
 9                   In Ewing v. A1 Solar, 37-2015-00035326-CU-BT-CTL (S.D. Sup. Ct.),
10    Ewing was initially held liable for sanctions for filing a frivolous lawsuit. See Ex.
11    2. In overturning this ruling on reconsideration, the Superior Court retroactively
12    applied the safe harbor provision of California Code of Civil Procedure § 128.5
13    because Ewing dismissed his Complaint.
14                   Ewing has now sued individuals associated with First Union for comments
15    they made in connection with trying to resolve this lawsuit and stop Ewing’s
16    harassment. See Arroyo, supra. His repeated claims as clearly harassing.
17                   4.    First Union seeks a narrowly drawn pre-filing order.
18                   The final De Long factor is a narrowly drawn pre-filing order.
19    “In order to issue a vexatious litigant order, Court must now craft a narrowly
20    tailored pre-filing restriction to closely fit the specific vice encountered.” Calhoun,
21    2012 WL 5878666, at *4.
22                   First Union is not asking for an outright prohibition on any new filings by
23    Ewing. All that is requested is the typical pre-filing order, which only means that
24    Ewing has to get the permission of this Court before filing any new action against
25    First Union-related defendants. The scope of such an order is appropriate given
26    the circumstances. First, Ewing’s many complaints invariably concern matters
27    already decided in other actions. This is therefore not a matter of Ewing not having
28    his day in court. By the time he gets to this Court he has already had many days in

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 1    court. It is therefore submitted that this Court should enter an order which: (1)
 2    declares Ewing to be a vexatious litigant; (2) imposes a pre-filing order against
 3    Ewing which enjoins Ewing from filing or causing to be filed any new complaint
 4    in this Court that names as defendants First Union, Arroyo, or any individual
 5    associated with First Union without first obtaining a written order from the District
 6    Judge permitting such filing; (3) requires that any application submitted by or on
 7    behalf of Ewing seeking such an order be submitted in writing to the District
 8    Judge, along with a copy of the complaint that is proposed to be filed, and a copy
 9    of this Court’s order determining Ewing to be a vexatious litigant and imposing
10    such pre-filing requirements on Ewing; (4) states that any violation of such order
11    may be deemed a contempt of court; and (5) provides that any new complaint filed
12    without first complying with the provisions of such order will be subject to
13    summary dismissal on such grounds.
14                   Without such an order, First Union, individuals associated with First Union
15    and others, will no doubt continue to be exposed to Ewing’s never ending cycle of
16    litigation over the same issues of TCPA, RICO and CIPA, and all of the substantial
17    expenses related to such perpetual litigation. The First Union defendants in this
18    case have no other adequate remedy
19
20
21    Dated: June 26, 2018                                 CARLSON & MESSER LLP

22                                                  By: /s/ David J. Kaminski
                                                            David J. Kaminski
23                                                          Stephen A. Watkins
24                                                          Attorneys for Defendants,
                                                            FIRST UNION LENDING, LLC
25
                                                            And TIMUR SHAMSUTDINOV
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 1                                  CERTIFICATE OF SERVICE
 2                  I hereby certify that on June 26, 2018 a true and correct copy of the
 3   foregoing DEFENDANT FIRST UNION LENDING, LLC AND TIMUR
 4   SHAMSUTDINOV’S BRIEF IN SUPPORT OF MOTION TO DECLARE
 5   ANTON EWING A VEXATIOUS LITIGANT AND FOR A PREFILING
 6   ORDER PURSUANT TO 28 USC SECTION 1651, was filed through the ECF
 7   system, which will send notification of such filing to the following e-mail
 8   addresses:
 9
10   Anton Ewing
     3077 B Clairemont Drive #372
11   San Diego, CA 92117
12   619-719-9640
     Email: anton@antonewing.com
13
     PRO SE
14
15   Dated: June 26, 2018                             CARLSON & MESSER LLP
16                                              By: /s/ David J. Kaminski
17                                                      David J. Kaminski
                                                        Attorneys for Defendants,
18                                                      FIRST UNION LENDING, LLC
19                                                      And TIMUR SHAMSUTDINOV
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